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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10          DAVID GOLDSTINE,                                  CASE NO. C18-1164 MJP

11                                 Plaintiff,                 MINUTE ORDER

12                 v.

13          FEDEX FREIGHT INC,

14                                 Defendant.

15

16          The following minute order is made by the direction of the court, the Honorable Marsha

17   J. Pechman, United States District Judge:

18          Defendant filed an unopposed motion to exclude designations of deposition testimony of

19   Katyna Naylor. (Dkt. No. 277.) Ms. Naylor has now provided live testimony during trial, which

20   renders the Motion moot. The Court therefore DENIES the Motion as MOOT.

21          The clerk is ordered to provide copies of this order to all counsel.

22          Filed November 6, 2020.

23
                                                     William M. McCool
24                                                   Clerk of Court


     MINUTE ORDER - 1
            Case 2:18-cv-01164-MJP Document 302 Filed 11/06/20 Page 2 of 2




 1
                                         s/Paula McNabb
 2                                       Deputy Clerk

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